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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JEREMY LEVIN and DR. LUC]]_.LE LEVIN,

 

 

Plammcfs’ Civil Action No. 09-cv-5900 (RPP)
V. ECF Case
BANK OF NEW YORK, JPMORGAN
ansE, socnirni; GENE’RALE sA, ana UNDER SEAL
CITIBANK,
Defendants.
ANSWER

Defenciant Société Générale (“SG”) hereby answers the Complaint of Plaintiffs Jererny

Levin and Dr. Luciile levin as foilows:

l. SG denies knowledge or information sufficient to form a belief as to the truth of
the aflegations contained in Paragraph 1 of the Complaint.

2. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in the first sentence of Paragraph 2 of the Complaint. The second
sentence of Paragraph 2 of the Compiaint contains legal conclusions to Which a responsive
pleading is not required

3. SG admits the allegations contained in Paragraph 3 of the Complaint as to SG.
SG denies knowledge or information sufficient to form a belief as to the truth of allegations
contained in Paragraph 3 of tile Compiaint relating to any other Defendant.

4. SG denies knowledge or information sufficient to form a befief as to the truth of
the allegations contained in Paragraph 4 of the Comp]aint. SG further states that Paragraph 4 of

the Complaint states legal conclusions to Which a responsive pleading is not required

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5. Paragraph 5 of the Complaint states legal conclusions to which a responsive

pleading is not required

6. SG admits the accuracy of the quotation contained in Paragraph 6 of the
Complaint.
7. Paragraph 7 of the Compiaint states legal conclusions to which a responsive

pleading is not required

8. Paragraph 8 of the Compiaint states legal conclusions to which a responsive

pleading is not required

9. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 9 of the Complaint.

10. Paragraph 10 of the Complaint states legal conclusions to which a responsive

pleading is not required

11. Paragraph 11 of the Complaint states legal conclusions to which a responsive

pleading is not required

12. Paragraph 12 of the Cornplaint states legal conclusions to which a responsive

pleading is not required

13. Paragraph 13 of the Complaint states legal conclusions to which a responsive

pleading is not required

14. Paragraph 14 of the Complaint states legal conclusions to Which a responsive

pleading is not required

15. SG denies knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 15 of the Cornplaint.

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16. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations Contained in Paragraph 16 of the Complaint.

17. SG cannot respond to Paragraph 17 of the Cornplaint, because it was served upon
SG in redacted forrn.

18. SG cannot respond to Paragraph 18 of the Cornplaint, because it was served upon
SG in redacted form.

19. SG cannot respond to Paragraph 19 of the Complaint, because it was served upon
SG in redacted fonn.

20. SG admits that it has an office at 1221 Avenue of the AInezicas, New York, New
York. SG denies the remaining allegations contained in the first sentence of Paragraph 20 of the
Complaint and states that Société Générale is a French banking institution, domiciled and
headquartered in France. SG denies the second sentence of Paragraph 20 of the Cornplaint. The
third sentence of Paragraph 20 of the Complaint states legal conclusions to which a responsive
pleading is not required

21. SG admits the allegations contained in the first sentence of Paragraph 21 of the
Complaint. SG denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in the second sentence of Paragraph 21 of the Complaint. The third
sentence of Paragraph 21 of the Complaint states legal conclusions to which a responsive
pleading is not required

22. Paragraph 22 of the Cornplaint states legal conclusions to which a responsive
pleading is not required

23. SG denies knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 23 of the Complaint.

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24. SG denies knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 24 of the Complaint.

25. SG denies knowledge or information sufficient to form a beiief as to the truth of

the allegations contained in Paragraph 25 of the Complaint.

26. SG denies knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 26 of the Complaint.

27. SG denies knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 27 of the Complaint.

28. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 28 of the Complaint.

29. Paragraph 29 of the Complaint states legal conclusions to which a responsive

pleading is not required

30. Paragraph 30 of the Complaint states legal conclusions to which a responsive

pleading is not required

31. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 31 of the Complaint.
32. SG admits the accuracy of the quotation contained in Paragraph 32 of the

Complaint.

33. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 33 of the Complaint.

34. Paragraph 34 of the Complaint states legal conclusions to which a responsive

pleading is not required

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35. Paragraph 35 of the Complaint states legal conclusions to which a responsive
pleading is not required

36. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 36 of the Complaint.

37. Paragraph 37 of the Complaint states legal conclusions to which a responsive
pleading is not required

38. Paragraph 38 of the Complaint states legal conclusions to which a responsive
pleading is not required

39. Paragraph 39 of the Complaint states legal conclusions to which a responsive
pleading is not required

40. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 40 of the Complaint.

4l. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 41 of the Complaint.

42. SG denies the allegations contained in Paragraph 42 of the Complaint insofar as
they relate to SG. SG denies knowledge or information sufficient to form a belief as to the truth
of the remaining allegations contained in Paragraph 42 of the Complaint.

43. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 43 of the Complaint.

44. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 44 of the Complaint.

45. Paragraph 45 of the Complaint states legal conclusions to which a responsive

pleading is not required

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46. Paragraph 46 of the Complaint states legal conclusions to which a responsive
pleading is not required
47. Paragraph 47 of the Complaint states legal conclusions to which a responsive

pleading is not required

48. SG denies knowledge or information sufficient to form a belief as to the truth of
the allegations contained in Paragraph 48 of the Complaint.
49. Paragraph 49 of the Complaint states legal conclusions to which a responsive

pleading is not required

50. Paragraph 50 of the Complaint states legal conclusions to which a responsive

pleading is not required

51. Paragraph 51 of the Complaint states legal conclusions to which a responsive

pleading is not required

52. Paragraph 52 of the Complaint states legal conclusions to which a responsive

pleading is not required

53. SG repeats and realleges each of the foregoing responses and allegations as if set

forth fully herein.

54. Paragraph 54 of the Complaint states legal conclusions to Which a responsive

pleading is not required

55. Paragraph 55 of the Complaint states legal conclusions to which a responsive

pleading is not required

56. Paragraph 56 of the Complaint states legal conclusions to which a responsive

pleading is not required

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57. Paragraph 57 of the Complaint states legal conclusions to which a responsive

pleading is not required

AFFIRMATIVE DEFENSES

Without assuming any burdens not imposed by law, SG asserts the following defense to

the allegations in the Complaint:

FIRST AFFIRMATIVE DEFENSE

58. The Complaint seeks to execute on funds that are not property of the lslarnic

Republic of Iran (the “Republic”).

SECOND AFFIRMATIVE DEFENSE

59. Persons other than the Republic or its agencies and instrumentalities may have
ownership or other interests in part or all of the funds at SG that are the subject of this turnover
proceeding (the “SG Blocked Accounts”) Which may be superior to the rights of Plaintiffs

against such funds.

THIRD AFFIRMATIVE DEFENSE

60. Parties other than Plaintiffs who may have an interest in the SG Blocked Funds
may be indispensable parties and!or may have the light to notice of these proceedings and an
opportunity to be heard before this Court enters a judgment in this proceeding that would

terminate or otherwise affect their rights in the SG Blocked Accounts.

FOURTH AFFIRMATIVE DEFENSE

61. Plaintiffs have not satisfied the requirements of Section 201 of the Terrorism Risk

lnsurance Act (“TRIA”).

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FIFTH AFFIRMA'I`IVE DEFENSE

62. Plaintiffs have not satisfied the requirements of Sections 1608(a) and 1610(c) of

the Foreign Sovereign lmmunities Act (“FSIA”).

SIXTH AFFIRMATIVE DEFENSE

63. The Complaint does not state a cause of action for which relief may be granted

SEVENTH AFFIRMATIVE DEFENSE

64. SG hereby reserves its future rights of setoff against funds on deposit in bank

accounts at SG that belong to the Republic or its agencies and instrumentalities

EIGHTH AFFIRMATIVE DEFENSE

65. To the extent that the funds belonging _to the Republic and its agencies and
instrumentalities that are in accounts at SG and the other Defendants in this proceeding exceed
the amount due to the Plaintiffs, this Court should allocate the amounts to be turned over by each
of the Defendants and determine from which accounts such funds should be debited in such a

way that none of the Defendants is required to turn over to Plaintiffs more than that Defendant’s

allocable share.

RESERVA'I`ION ()F RIGH'I`S

SG reserves its right to supplement its answer and affirmative defenses with additional
information that becomes available or apparent during the course of investigation, preparation, or

discovery, and to amend its pleading accordingly

WHEREFORE, having fully answered the Complaint and asserted affirmative defenses

thereto, SG respectfully requests that this Court enter an order:

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i) dismissing the Complaint as against SG in its entirety with prejudice;

ii) determining whether all appropriate and/or necessary parties were given
appropriate notice of the proceedings and the manner of such notice;

iii) the precise amount, if any, to be turned over pursuant to any execution or other
turnover order, and to whom the turnover is granted;

iv) the appropriate apportionment amongst the Defendants of funds and/or accounts
to be turned over, if any;

v) whether, as to each property or account in respect of which execution or turnover
is ordered, (i) the account holder or owner is regarded as an “agency or
instrumentality” of a terrorist party on a claim based on an act of terrorism Within
the meaning of the TRIA; or (ii) the judgment is based on a claim in respect of an
act for which a terrorist party is not immune under 28 U.S.C. § 1605(a)(7);

vi) awarding SG the costs of defending this action including reasonable attorney’s
fees;

vii) granting SG any additional equitable and other relief that the Court deems just
and proper under the circumstances

Dated: New York, New York
October 23, 2009

MAYER BROWN LLP

By:

 

Christopher J. Houp

l675 Broadway

New York, New York 10019
(212) 506-2500

Attomeys for Defendant
SOCiéte' Génémle

